        Case 1:22-cr-00354-RCL Document 82 Filed 11/01/23 Page 1 of 5




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



                                             Criminal No.: 1: 22-cr-00354-RCL-
                                             1 and 2
   UNITED STATES OF AMERICA,
                    -v-                        DEFENDANTS REPLY TO
                                             UNITED STATES ’RESPONSE
     RICHARD SLAUGHTER, and
                                                  IN OPPOSITION TO
         CADEN GOTTFRIED,                     DEFENDANT'S MOTION IN
                                                LIMINE TO PRECLUDE
                          Defendants.
                                             GOVERNMENT STATEMENTS
                                               OF MEDICAL INJURIES.




   DEFENDANTS REPLY TO UNITED STATES ’RESPONSE IN
OPPOSITION TO DEFENDANT'S MOTION IN LIMINE TO PRECLUDE
    GOVERNMENT STATEMENTS OF MEDICAL INJURIES.

COMES NOW, the Defendants Slaughter and Gottfried, by and through his

counsel of record John Pierce, with this reply to “United States’ Response in

Opposition to Defendants’ Motion in Limine to Preclude Government Statements

of Medical Injuries” (“the Response”), Doc. 72. In the response, United States

opposes defendants motion asking the court to ““an order precluding the

government from presenting police (or other) witnesses who claim to suffer

medical harms or mental injuries stemming from the defendants unless those

witnesses previously documented their injuries, as the law and polices requires,
           Case 1:22-cr-00354-RCL Document 82 Filed 11/01/23 Page 2 of 5



and unless defense counsel has been timely provided with all medical records and

statements.” Doc 67. at 2.

      The United States argues that documents were provided to Defendant’s team

via Relativity. First, there are over 7.93 million files (over 10.08 terabytes of

information) provided in Relativity.

      Defense seeks to avoid what has happened in previous January 6 trials,

including the trial of Kenneth Joseph Thomas, before Judge Friedrich.

At trial, Thomas was suddenly confronted with a recently-fabricated claim by MPD officer

Robert ********** that Thomas had contributed to ************’ “undiagnosed PTSD”—a

claim which had not been provided to the defense.

       Post Traumatic Stress Disorder is a serious medical condition that must be reported to

supervisors. Both OSHA rules and the MPD rules require this. Medical records must be

generated, and provided to opposing parties wherein the mentally ill officer claims the party

caused his or her PTSD mental illness. The Thomas defense team was never provided any such

records.

       Significantly, a confirmed medical diagnosis of PTSD generally ends a patrol officer’s

career. Police Departments must generally provide severance and disability protection for any

such officer, and that officer must not be further allowed to patrol a community. Numerous civil

cases hold that such an officer becomes no longer fit for patrol duty, as they can be a danger to

members of the community. For one thing, PTSD requires treatment that may include mind-

altering drugs.

       The Department of Justice’s own reports indicate the severe impacts of a PTSD diagnosis

for any patrol officer.
          Case 1:22-cr-00354-RCL Document 82 Filed 11/01/23 Page 3 of 5



       In a recent preliminary study, we used measures of brain function to determine
       the effects of PTSD on police decision making.2 We recorded
       electroencephalography (EEG) while police officers were presented with a
       decision-making situation. Then, we compared the decision-making abilities of
       those officers having higher levels of PTSD with those that have low or no PTSD
       levels. Results suggested that officers who have higher levels of PTSD had
       greater brain activation in areas related to rapid decision making. Disruptions in
       rapid decision making by an officer who has PTSD may affect brain systems due
       to heightened arousal to threats, inability to screen out interfering information, or
       the inability to keep attention.
DOJ: PTSD among Police Officers: Impact on Critical Decision Making,

May 2018 | Volume 11 | Issue 5.

   In Thomas’ trial, prosecutors slipped in a recently-created claim that ******* had suffered

extreme “PTSD-like” mental trauma from Thomas. Conveniently, the officer claimed his mental

condition was “undiagnosed.” Thomas’ defense team had no way of anticipating or preparing

for such testimony. Significantly, the officer had (unbeknownst to the defense) claimed he “felt

he had “PTSD” from his experiences that day” and that he “experienced “zoning out reactions”

when reminded of January 6.” The officer testified he could not go to any mall or crowded area

for months after January 6.”

      Obviously, if true, this officer should be immediately taken off street patrol. (Counsel has

no idea if this has happened.)




                                         CONCLUSION

      For all the foregoing reasons , defendants ‘ motion in limine to preclude surprise

government claims of medical injuries caused by defendants should be GRANTED.
         Case 1:22-cr-00354-RCL Document 82 Filed 11/01/23 Page 4 of 5




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       Case 1:22-cr-00354-RCL Document 82 Filed 11/01/23 Page 5 of 5




                                                   CERTIFICATE OF SERVICE
I, John M. Pierce, hereby certify that on this day, Nov. 1, 2023, I caused a copy of
 the foregoing document to be served on all counsel through the Court’s CM/ECF
                                                                 case filing system.

   /s/ John M. Pierce
       John M. Pierce
